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 Attorneys for the United States


                       UNITED STATES DISTRICT COURT
                            DISTRICT OF HAWAII


   UNITED STATES OF AMERICA,                       Case No. CR 17-00582-JMS-RLP
                       Plaintiff,                  COMBINED WITNESS LIST
         v.
   KATHERINE P. KEALOHA (1), et al.,
                       Defendants.




                                    Combined Witness List

       Pursuant to the Court’s directive, ECF Nos. 482 and 572, the parties have

 exchanged witness lists for the trial in this matter. Accordingly, attached hereto is a

 combined witness list in alphabetical order by last name for all parties. We have

 listed the employment and location of each witness, where known. In addition to
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 the individuals listed below, the defense has also included the following individuals

 on their witness lists: “All witnesses named in discovery” and “All witnesses named

 by the government.”

 Dated: May 6, 2019.                    Respectfully submitted,

                                        WILLIAM P. BARR
                                        United States Attorney General

                                        ROBERT S. BREWER, JR.
                                        United States Attorney

                                        /s/ Janaki S. Gandhi
                                        MICHAEL G. WHEAT
                                        JOSEPH J.M. ORABONA
                                        JANAKI S. GANDHI
                                        COLIN M. MCDONALD
                                        Special Attorneys to the Attorney General
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                               UNITED STATES V. KEALOHA, ET AL.
                                CR 17-00582-JMS-RLP
                   COMBINED WITNESS LIST (UNITED STATES/DEFENSE)
                                 Trial: May 13, 2019

WITNESS                                       EMPLOYMENT                    CITY AND STATE
ACKERMAN, Caryn        Federal Bureau of Investigation (FBI)                Portland, OR


AIWOHI, Kasey          Pilot                                                Oahu, HI


AKAGI, Dru             Honolulu Police Department (HPD)                     Oahu, HI


ALDRIDGE, David        American Association of Notaries                     Houston, TX


ARAKAKI, Carrie        Retail/Sales                                         Honolulu, HI


ASATO, Sean            Honolulu Police Department (HPD)                     Honolulu, HI


AWONG, William         Hawaii State Attorney General’s Office               Honolulu, HI


AXT, William           Honolulu Police Department (HPD) – Retired           Honolulu, HI


BARTON, William        Videographer / Court Reporter                        Honolulu, HI


BICKERTON, James       Attorney                                             Honolulu, HI


BLANCHETTE, Patricia   Physician                                            Honolulu, HI
MD

BLYTHE, Teuila         Unknown                                              Oahu, HI


BROOM, Neil            Unknown                                              Huntington
                                                                            Beach, CA

BRUNER, Michelle       Unknown                                              Oahu, HI



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WITNESS                                  4937
                                       EMPLOYMENT                       CITY AND STATE
CABRAL, Derek        Unknown                                            Oahu, HI


CALISTRO, Walter     Honolulu Police Department (HPD) - Retired                Honolulu, HI


CAMPBELL, Chuck      American Association of Notaries – Former Employee        Texas


CANARIO, James       Honolulu Police Department (HPD)                          Oahu, HI


CAYETANO, Thomas     Hawaii Department of Public Safety - Sheriff              Honolulu, HI


CHANG, David         Honolulu Police Department (HPD)                          Honolulu, HI


CHO, Michael         Honolulu Police Department (HPD)                          Oahu, HI


CHU, Kyle            Honolulu Police Department (HPD)                          Honolulu, HI


CHUN, Lynn           Honolulu Police Department (HPD)                          Oahu, HI

CLOUGH, Scott        Solar Business                                            Hilo, HI

CREEKMUR, Kenneth    Honolulu Police Department (HPD)                          Oahu, HI


CUSUMANO, Michael    Honolulu Police Department (HPD)                          Oahu, HI


CUTWRIGHT,           Real Estate Broker                                        Honolulu, HI
Lawrence

DEAN KRAMER, Julie   Unknown                                                   Honolulu, HI
Honey

DECAIRES, Letha      Honolulu Police Department (HPD) - Retired                Oahu, HI
                     City and County of Honolulu Ethics Commission - Retired
DEMELLO, Carolyn     Retired                                                   Honolulu, HI


DEMELLO, Jaunette    YMCA                                                      Honolulu, HI



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 WITNESS                                  4938
                                        EMPLOYMENT                       CITY AND STATE
DIEHL, Richard        Attorney                                           Honolulu, HI


DIERCKS, Lisa        Federal Bureau of Investigation (FBI)                Honolulu, HI


DRY, Derrick         Gibraltar – Former Employee                          Laurel, MS


ELLIS, William       Honolulu Police Department (HPD)                     Honolulu, HI


EWART, Terry         Real Estate Agent                                    Honolulu, HI


FELICETTI, Jill M.   Court Reporter                                       Florida


FRYER, Jeff          Unknown                                              Fountain Hills, AZ


GAMBLE, Michelle     Unknown                                              Ewa Beach, HI


GARCIA, Michael      Honolulu Police Department (HPD)                     Honolulu, HI


GIBO, Chad           Honolulu Police Department (HPD)                     Honolulu, HI


GOMES, Gordon        Honolulu Police Department (HPD) – Retired           Oahu, HI


GONYEA, Mark         Federal Bureau of Investigation (FBI)                San Diego, CA


GONZAGA, Priscilla   Court Reporter                                       Honolulu, HI


GONZALES, Deborah    Hawaii State Attorney General’s Office               Honolulu, HI


GOODENOW, Steven     Unknown                                              Oahu, HI


HARTSELL, Kay        Retired                                              Honolulu, HI




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WITNESS                                  4939
                                       EMPLOYMENT                       CITY AND STATE
HAXTON, Yvonne       Unknown                                            Honolulu, HI


HEROLD, Noel         Federal Bureau of Investigation (FBI)                    Washington, D.C.


ICHINOSE, Sampson    Unknown                                                  Honolulu, HI


IKEHARA, Raynor      Honolulu Police Department (HPD)                         Oahu, HI


INOUYE, Cindy        State of Hawaii - Dept. of Human Resources Development   Honolulu, HI


INOUYE, Darin        Financial Advison                                        Honolulu, HI


ISHIDA, Allen        Honolulu Police Department (HPD)                         Honolulu, HI


ITO, Brandon         Attorney                                                 Honolulu, HI


ITO, Jennifer        Physician                                                Honolulu, HI


JOHNSON, Elise       Unknown                                                  Oahu, HI


KANDA, Wilma         Bank of Hawaii                                           Honolulu, HI


KANESHIRO, David     Honolulu Police Department (HPD)                         Honolulu, HI


KAWANO, Lynn         Unknown                                                  Honolulu, HI
aka: KRESTA, Lynn


KIMHAN, Miles        Mortgage Broker                                          Honolulu, HI


KISSEL, Curtis       Honolulu Police Department (HPD)                         Oahu, HI


KIYOHIRO, Sharon     Honolulu Police Department (HPD)                         Oahu, HI



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WITNESS                                   4940
                                        EMPLOYMENT                       CITY AND STATE
KOCH, Mike            Unknown                                            Oahu, HI


KOGA, Katherine      Attorney                                             Honolulu, HI


KUBO, Carolee        City and County of Honolulu                          Honolulu, HI


KURASHIMA, Gerald    Attorney                                             Honolulu, HI


LAVARIAS, Phillip    Honolulu Police Department (HPD)                     Honolulu, HI


LEONG, Stuart        Honolulu Police Department (HPD)                     Oahu, HI


LOWE, Jordan         Bureau of Alcohol, Tobacco and Firearms (ATF)        Oahu, HI


LUM, Alvin           Honolulu Police Department (HPD) - Retired           Oahu, HI


LUM, Carly           Federal Bureau of Investigation (FBI)                Kapolei, HI


LUTU, Malcom         Honolulu Police Department (HPD)                     Honolulu, HI


MAKAAWAAWA,          Community Activist                                   Waimanalo, HI
Brandon

MALINAO, Clarissa    Attorney                                             Honolulu, HI


MALOTT, Charlotte    Retired                                              Oahu, HI


MARSHALL, Jeff       Bank of Hawaii                                       Honolulu, HI


MARTIN, Mallory      Attorney                                             Honolulu, HI


MCCARTHY, John       Honolulu Police Department (HPD)                     Honolulu, HI

MCCAULEY, Marie      Honolulu Police Department (HPD)                     Oahu, HI

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 WITNESS                                      4941
                                            EMPLOYMENT                  CITY AND STATE
MCCORMICK, Greg      Honolulu Police Department (HPD)                   Honolulu, HI


MCCORRISTON,         Attorney                                                 Honolulu, HI
William

MCDONALD, Matthew    Federal Bureau of Investigation (FBI)                    Oahu, HI
M.


MIURA, Yvette        Honolulu Police Department (HPD)                         Oahu, HI


NAITO, Sean          Honolulu Police Department (HPD)                         Oahu, HI


NAKASATO, Davin      Bank of Hawaii                                           Honolulu, HI


NAM, Edwin           Federal Bureau of Investigation (FBI)                    Washington, DC


NILSEN, David        Honolulu Police Department (HPD)                         Honolulu, HI


OKU, Allen Jr.       Honolulu Police Department (HPD)                         Oahu, HI


OLEKSOW, Dave        Forensic Document Examiner                               California


ORNELLAS, Rick       Retired                                                  Honolulu, HI


OSBORNE, Leslie      Assistant United States Attorney - Former                Honolulu, HI


OTSUKA, Laurice      Federal Bureau of Investigation (FBI)                    Kapolei HI


OTT, Cynthia         U.S. Federal Court District of Hawaii – Court Reporter   Honolulu, HI


OWEN, Mark           SERVCO                                                   Honolulu, HI


PIIOHIA, Jamie       Unemployed                                               Honolulu, HI


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 WITNESS                                 4942
                                       EMPLOYMENT                       CITY AND STATE
POWERS, Jenness      Court Reporter                                     California


PUANA, Florence        Retired                                           Honolulu, HI


PUANA, Gerard          Unemployed                                        Honolulu, HI


PUANA, Lealani         Retired                                           Big Island of
                                                                         Hawaii and
                                                                         Denver, CO
PUANA, Lynn            Physician                                         Big Island of
                                                                         Hawaii and
                                                                         Denver, CO
PUANA, Ruldolph, Sr.   Unknown                                           Denver, CO


REGO, Maile            Honolulu Police Department (HPD)                  Honolulu, HI


ROBINSON, Richard      Honolulu Police Department (HPD) – Retired        Honolulu, HI


ROSSKOPF, Frederick    Honolulu Police Department (HPD)                  Honolulu, HI


SAWICKI, John          Unknown                                           Tallahassee, FL


SCHEIDT, Dave          Unknown                                           California


SCHWARTZ, Michael      Unknown                                           Washington


SELLERS, Daniel        Honolulu Police Department (HPD)                  Oahu, HI


SHAUGHNESSY, Brian     United States Postal Inspector (USPIS)            Honolulu, HI


SHIRAISHI, Natashia    Unknown                                           Oahu, HI


SILVA, Lian            Unknown                                           Oahu, HI


SILVA, Niall           Honolulu Police Department (HPD) - Retired        Oahu, HI

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WITNESS                                         4943
                                             EMPLOYMENT                  CITY AND STATE
SILVERT, Alexander    Federal Public Defender’s Office                   Honolulu, HI


SIMPSON, Rualani     Unknown                                              Chicago, IL


SMITH, Kristen       Unknown                                              Oahu, HI


SOOTO, Nalei         Unknown                                              Seattle, WA


SUMI, Miles          Mail Carrier - Retired                               Honolulu, HI


SUMIDA, Kevin        Unknown                                              Honolulu, HI


SWEET, Kristina      First American Title                                 Honolulu, HI


TABBARA, Kal         American Association of Notaries                     Houston, TX


TAFAOA, Landon       Honolulu Police Department (HPD)                     Oahu, HI


TAFLINGER, Tom       Honolulu Police Department (HPD)                     Oahu, HI


TAKEDA, Leslie       Court Reporter                                       Honolulu, HI


TIBAR, Anabel        Unknown                                              Honolulu, HI


TOKIOKA, Benjy       Honolulu Police Department (HPD)                     Oahu, HI


TOKIOKA, Bronson     Island Insurance Office                              Honolulu, HI


TONG, Calvin         Honolulu Police Department (HPD)                     Oahu, HI


TONG, Larry          Assistant U.S. Attorney                              Honolulu, HI
                     U.S. Attorney’s Office


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WITNESS                                      4944
                                           EMPLOYMENT                   CITY AND STATE
TOTTO, Charles       Honolulu Ethics Commission – Retired               Honolulu, HI


TRANNI, Phillip      Honolulu Police Department (HPD)                    Oahu, HI


TURNER, Destinie     Unknown                                             Oahu, HI


UYEMA, Lynn          Honolulu Police Department (HPD)                    Honolulu, HI
                     Legal Advisor

VALLIERES, Nicole    Federal Bureau of Investigation (FBI)               Oahu, HI


WATSON-SPROAT,       Attorney and Civil Beat Reporter                    Honolulu, HI
Trisha

WESTENHAVER, Jared Unknown                                               Oahu, HI


WESTENHAVER, Mindy Unknown                                               Oahu, HI


WONG, Anthony        Attorney                                            Honolulu, HI


WONG, Mark           Department of Information and Technology            Honolulu, HI
                     Director and CIO

WONG, Shari          State of Hawaii Attorney                            Honolulu, HI


WONG, Wesley         U.S. Attorney’s Office                              Oahu, HI


WOODARD, Tom         Federal Bureau of Investigation (FBI)               Quantico, VA
                     Forensic Audio, Video Image Analysis Unit

YAMAKAWA, Laine      Honolulu Police Department (HPD)                    Oahu, HI


YAMAMOTO, Halford    Hawaiian Airlines – Baggage Handler                 Honolulu, HI
                     Honolulu Police Department (HPD) - RETIRED

YASHIRO, Lane        Honolulu Police Department (HPD)                    Oahu, HI

YIN, Kimberly        Uknown                                              Oahu, HI

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WITNESS                                  4945
                                      EMPLOYMENT                        CITY AND STATE
YOKOMOTO, Susan      Bank of Hawaii                                     Honolulu, HI


                                      CUSTODIANS
CUSTODIAN: AT&T

CUSTODIAN:
ARBONNE

CUSTODIAN:
FACEBOOK

CUSTODIAN: SPRINT

CUSTODIAN: VERIZON

CUSTODIAN: YAHOO

CUSTODIAN: FIRST
HAWAIIAN BANK

CUSTODIAN: BANK OF
HAWAII
CUSTODIAN: STATE
OF HAWAII,
DEPARTMENT OF
HEALTH
CUSTODIAN: STATE
OF HAWAII SENATE
OTHER CUSTODIANS
OF RECORD AS
NEEDED




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                      UNITED STATES DISTRICT COURT
                               DISTRICT OF HAWAII

   UNITED STATES OF AMERICA,                      Case No. CR 17-00582-JMS-RLP
                      Plaintiff,                  CERTIFICATE OF SERVICE
         v.
   KATHERINE P. KEALOHA (1), et al.,
                      Defendants.




 IT IS HEREBY CERTIFIED that:
       I, Janaki S. Gandhi, am a citizen of the United States and am at least

 eighteen years of age. My business address is 880 Front Street, Room 6293,

 San Diego, CA 92101-8893.

       I am not a party to the above-entitled action. I have caused service of the

 foregoing on all parties in this case by electronically filing the foregoing with the

 Clerk of the District Court using its ECF System, which electronically notifies them.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on May 6, 2019.



                                        s/ Janaki S. Gandhi
                                        JANAKI S. GANDHI
                                        Special Attorney to the Attorney General
